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                              UNITED STATES DISTRICT COURT
  9
                         CENTRAL DISTRICT OF CALIFORNIA
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 11
      MARTINA JIMENEZ,                          No. 2:20-CV-09866 JAK (JEMx)
 12
                 Plaintiff,                     [San Luis Obispo County Superior
 13                                             Court Case No. 20CV-0495]
      v.
 14
      COSTCO WHOLESALE                          ORDER RE STIPULATION TO
 15   CORPORATION; and DOES 1 to 50,            REMAND AND CAP DAMAGES
                                                (DKT. 12)
 16             Defendants.
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Case 2:20-cv-09866-JAK-JEM Document 13 Filed 12/30/20 Page 2 of 2 Page ID #:138

  1         Based on a review of the parties’ Stipulation to Remand and Cap Damages
  2   (the “Stipulation” (Dkt. 12)), sufficient good cause has been shown for the
  3   requested relief. Therefore, the Stipulation is APPROVED as follows:
  4         1.    This action shall be immediately remanded to the San Luis Obispo
  5   County Superior Court, where the parties to the Stipulation have agreed that
  6   Plaintiff Martina Jimenez shall not recover more than $74,999.99.
  7         2.    All pending deadlines and hearings in this Court are vacated.
  8
  9   IT IS SO ORDERED.
 10           December 30, 2020
      Dated: __________________                ________________________________
 11                                            John A. Kronstadt
                                               United States District Judge
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